918 F.2d 174Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James M. OXIER, Plaintiff-Appellant,v.Donald STALNAKER, Defendant-Appellee.
    No. 90-6129.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1990.Decided Nov. 19, 1990.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  Robert Earl Maxwell, Chief District Judge.  (CA-90-99-E)
      James M. Oxier, appellant pro se.
      N.D.W.Va.
      AFFIRMED.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      James M. Oxier appeals from the district court's order dismissing this civil suit.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Oxier v. Stalnaker, CA-90-99-E (N.D.W.Va. Aug. 17, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    